                14-01931-alg   Doc 1-1      Filed 04/28/14 Entered 04/28/14 13:15:56       Statement of
                                                    Account
                                                 Starr         Pg LLC
                                                       & Company, 1 of 1
                                      CUSTOMER OPEN INVOICE REPORT
                                            For The Period Ending 12/31/08

                                    DUE      DISC
NAME/DATE          TT REFNO         DATE     DATE     DISC AMOUNT       INV AMOUNT         OPEN BALANCE




       i    .




WEINSTEIN2 - Marchesa Holdings, LLC




           09/01/07 CI   00019629   09/01     09/01                            10,000.00             5/Aft).&'
                         00019802   10/01     10/01                            10,000.00             10,000.00
           10/01/07 CI
                         00019992   11/01     11/01                            10,200.00             10,200.00
           11/01/07 CI
                         00020159   12/01     12/01                            10,000.00             10,000.00
           12/01/07 CI
                         00020169   01/01     01/01                            10,000.00             10,000.00
           01/01/08 CI
                         00020359   02/01     02/01                            10,000.00             10,000.00
           02/01/08 CI
           03/01/08 CI   00020546   03/01     03/01                            10,000.00             10,000.00

           04/01/08 CI   00020719   04/01     04/01                            10,000.00             10,000.00


           06/01/08 CI   00021118   06/01     06/01                            10,000.00             10,000.00
                         00021284   07/01     07/01                            10,000.00             10,000.00
           07/01/08 CI
                         00021851   10/01     10/01                             2,137.50              2,137.50
           10/01/08 CI




                                                           83
